Case 2:17-cv-12867-TGB-EAS ECF No. 69, PageID.1581 Filed 12/06/21 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 BRIAN LYNGAAS, D.D.S., individually            )
 and as the representative of a class of        )
                                                    Case No. 17-cv-12867
 similarly-situated persons,                    )
                                                )
                                                    Hon. Terrence G. Berg
                            Plaintiff,          )
                                                    Magistrate Elizabeth A. Stafford
              v.                                )
                                                )
                                                    CLASS ACTION
 J. RECKNER ASSOCIATES, INC. d/b/a              )
 RECKNER HEALTHCARE and                         )
 CALCIVIS, LTD.,                                )
                                                )
                            Defendants.         )


                         STIPULATION OF DISMISSAL

      IT IS HEREBY STIPULATED AND AGREED by and between the attorneys

for Plaintiff Brian Lyngaas, D.D.S. and Defendants J. Reckner Associates, Inc. d/b/a

Reckner Healthcare and Calcivis, Ltd., that, pursuant to Fed R. Civ. P. 41(a)(1)(ii),

Plaintiff’s claims against Defendants shall be dismissed with prejudice, with each

party bearing its own costs. This stipulation of dismissal disposes of the entire action.
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 Respectfully submitted,


 /s/ John MacKenzie with consent              /s/ David M. Oppenheim
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 /s/ Andrew M. Lammert with consent           Richard Shenkan
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 Associates, Inc.




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